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                   Exhibit C
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                                        CAUSE N0. C-2842-17-l

 JORGE M. GONZALEZ                                                               IN THE DISTRICT COURT OF
           Plaintiff,

 v.
                                                         WWWWWDWDWDWDWDWD




                                                                                 HIDALGO COUNTY, TEXAS
 UNITED PROPERTY & CASUALTY
 INSURANCE COMPANY, UNITED
 INSURANCE MANAGEMENT LC, AND
 CATHERINE CASTORINA
           Defendants.                                                           _    JUDICIAL DISTRICT

                              PLAINTIFF’S ORIGINAL PETITION

            Jorge M. Gonzalez    (“Plaintiff”), complains of United Property & Casualty Insurance

Company,      United     Insurance   Management      LC,                      and   Catherine    Castorina      (collectively

“‘Defendants”) and respectfully shows as follows:

                                                   I.
                                 DISCOVERY CONTROL PLAN

1.       Plaintiff intends for discovery to   be conducted under Level 3                        of Rule   190   of the   Texas

Rules   of Civil Procedure. This case involves complex issues and will require extensive discovery.

Therefore, Plaintiff asks the court to order that discovery be conducted in accordance with a

discovery control plan tailored to the circumstances of this suit.

                                                   11.
                               PARTIES AND PROCESS SERVICE

2.       Plaintiff resides in Hidalgo County, Texas.

3.       Defendant United Property & Casualty Insurance Company (“UPC”) is an insurance

company engaging in the business       of insurance in                      Texas. This defendant may be served with

process through its registered agent C T Corporation System, 1999 Bryan St. Suite 900, Dallas                              TX

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4.      Defendant United Insurance Management LC (“UIM”) is a company engaged in the

business of adjusting insurance claims in Texas. This defendant may be served with process

through its registered agent C T Corporation System, 1999 Bryan St. Suite 900, Dallas TX 75201-

3136.

5.      Defendant Catherine Castorina (“CASTORINA”) is an individual and an insurance

adjuster licensed by the Texas Department of Insurance. This Defendant may be served with

process at the following address: 2500 Windy Ridge Pkwy, Atlanta, GA 30339.

6.      The Clerk is requested to issue Citations.

                                              III.
                                         JURISDICTION

7.      Plaintiff seeks monetary relief over $100,000.00 but not more than $200,000.00, excluding

interest and costs. Such damages sought are within the jurisdictional limits of the court. Plaintiff

contends that the determination of damages is within the sole discretion of the Judge and Jury, but

makes stipulation as required by TEX.R.CIV.P. 47.

 8.     The court has jurisdiction over Defendant UPC because this Defendant engages in the

business of insurance in Texas, and because Plaintiff’s causes of action arise out of this

Defendant’s business activities in Texas.

 9.     The court has jurisdiction over Defendant UIM because this Defendant engages in the

business of adjusting insurance claims in Texas, and because Plaintiff’s causes of action arise out

of this Defendant’s business activities in Texas.

10.     The court has jurisdiction over Defendant CASTORINA because this Defendant engages

in the business of adjusting insurance claims in Texas, and because Plaintiff’s causes of action

arise out of this Defendant’s business activities in Texas.



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                                               IV.
                                             VENUE

11.     Venue is proper in Hidalgo County, Texas, because the insured property giving rise to this

cause of action is situated in Hidalgo County, Texas. TEX.CIV.PRAC.REM.CODE §15.032.

                                        V.
                         NOTICE AND CONDITIONS PRECEDENT

12.     Defendants have been provided notice, in writing, of the claims made by Plaintiff in this

petition, including Plaintiff’s actual damages in the manner and form required.

13.     All conditions precedent necessary to maintain this action and the Claim under the Policy

have been performed, occurred, or have been waived by Defendants; and/or Defendants are

otherwise estopped from raising any conditions precedent due to Defendant’s prior breach of the

insurance contract.

                                              VI.
                                             FACTS

14.     Plaintiff is the owner of certain real property with improvement (including Plaintiff’s

home) located at 204 S. Los Ebanos Rd., Mission, Texas 78572 (the “Property”). The Property

was insured by insurance policy number UTH020889700, issued by Defendant UPC (the

“Policy”). Plaintiff is the owner of the Policy and the named insured on the Policy.

15.     On or about 3/9/2016, or another time when the Policy was in effect, a severe storm caused

substantial damage to the Property and constituted a covered loss under the Policy. After the loss,

Plaintiff made a claim (claim no. 2016TX022458) and demand for payment on Defendant UPC

for damages to the Property and other damages covered by the terms of the Policy (the “Claim”).

After Plaintiff made the Claim, Defendant UPC assigned or otherwise retained its employees

and/or agents Defendants UIM, and CASTORINA to work on Plaintiff’s Claim. All Defendants

failed to comply with the Policy, the Texas Insurance Code and Texas law in handling Plaintiff’s
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claim. Further, Defendant UPC has refused to pay all amounts due and owing under the Policy

for the Claim.

16.       Defendants UIM and CASTORINA made numerous errors in estimating the value of

Plaintiff’s claim, all of which were designed to intentionally minimize and underpay the loss

incurred by Plaintiff. Defendants UIM and CASTORINA failed to fully quantify Plaintiff’s

damages, thus demonstrating that they did not conduct a thorough investigation of Plaintiff’s

claim. Defendants conducted a substandard investigation of Plaintiff’s Claim, evidenced by the

estimate issued by Defendants UIM and CASTORINA and relied upon by Defendants UIM and

CASTORINA. The damage estimate failed to include all damages to Plaintiff’s Property. The

damages Defendants included in the estimate were grossly undervalued and did not allow for

adequate funds to cover the cost of repairs to all the damages sustained. Defendants failed to

thoroughly review and properly supervise the adjustment of the Claim, including the inspection of

the Property, which ultimately led to approving an improper adjustment and an inadequately unfair

settlement of Plaintiff’s claim. Further, Defendants UIM and CASTORINA knowingly and

intentionally overlooked damages at the Property and used their own inadequate and biased

investigation as the basis for erroneously denying a portion of Plaintiff’s claim. Because of

Defendants UIM’s and CASTORINA’s conduct, Plaintiff’s claim was underpaid and partially-

denied.

17.       Defendant UPC failed to perform its contractual duties to adequately compensate Plaintiff

under the terms of the Policy. Specifically, Defendant UPC refused to pay the full proceeds owed

under the Policy, although due demand was made for proceeds to be paid in an amount sufficient

to cover the damaged property and all conditions precedent to recovery upon the Policy in question




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had been satisfied by Plaintiff. Defendant UPC’s conduct constitutes a breach of the insurance

contract between Defendant UPC and Plaintiff.

18.     All Defendants misrepresented to Plaintiff that much of the damage to the Property was

not covered under the Policy, even though the damage was covered by the Policy. Defendants’

conduct constitutes a violation of TEX.INS.CODE §541.060(a)(1).

19.     All Defendants failed to attempt in good faith to effectuate a prompt, fair, and equitable

settlement of Plaintiff’s Claim, when UPC’s liability was reasonably clear. Defendants’ conduct

constitutes a violation of TEX.INS.CODE §541.060(a)(2)(a).

20.     All Defendants failed to explain to Plaintiff the reasons for their offer of an inadequate

settlement. Specifically, Defendants failed to offer Plaintiff adequate compensation, without any

explanation why full payment was not being made.            Furthermore, All Defendants did not

communicate that any future settlements or payments would be forthcoming to pay for the entire

loss covered under the Policy, nor did Defendants provide any explanation for the failure to

adequately settle Plaintiff’s claim. Defendants’ conduct constitutes a violation of TEX.INS.CODE

§541.060(a)(3).

21.     All Defendants failed to affirm or deny coverage of Plaintiff’s claim within a reasonable

time. Specifically, Plaintiff did not receive timely indication of acceptance or rejection, regarding

the full and entire claims, in writing from Defendants. Defendants’ conduct constitutes a violation

of TEX.INS.CODE §541.060(a)(4).

22.     All Defendants refused to fully compensate Plaintiff for the Claim without conducting a

reasonable investigation of the Claim. Rather, Defendants performed an unreasonable outcome-

oriented investigation of Plaintiff’s claim, which resulted in a biased, unfair and inequitable




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evaluation of Plaintiff’s Claim. Defendants’ conduct constitutes a violation of TEX.INS.CODE

§541.060(a)(7).

23.     Defendant UPC failed to meet its obligations under the Texas Insurance Code regarding

the timely acknowledgement of Plaintiff’s claim, beginning an investigation of Plaintiff’s claim

and requesting all information reasonably necessary to investigate Plaintiff’s claim within the

statutorily mandated time of receiving notice of Plaintiff’s claim. Defendant UPC’s conduct

constitutes a violation of TEX.INS.CODE §542.055.

24.     Defendant UPC failed to accept or deny Plaintiff’s full and entire Claim within the

statutorily mandated time of receiving all necessary information. Defendant UPC’s conduct

constitutes a violation of TEX.INS.CODE §542.056.

25.     Defendant UPC failed to meet its obligations under the Texas Insurance Code regarding

payment of claims without delay. Specifically, Defendant UPC has delayed full payment of

Plaintiff’s claim longer than allowed and, to date, Plaintiff has not yet received full payment for

Plaintiff’s claim. Defendant UPC’s conduct constitutes a violation of TEX.INS.CODE §541.058.

26.     From and after the time Plaintiff’s claim was presented to Defendant UPC, the liability of

Defendant UPC to pay the full claims in accordance with the terms of the Policy was reasonably

clear. However, Defendant UPC has refused to pay Plaintiff in full, despite there being no basis

whatsoever on which a reasonable insurance company would have relied on to deny the full

payment. Defendant UPC’s conduct constitutes a breach of the common law duty of good faith

and fair dealing.

27.     All Defendants knowingly or recklessly made false representations, as described above, as

to material facts and/or knowingly concealed material information from Plaintiff.




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28.       Because of all Defendants’ wrongful acts and omissions, Plaintiff was forced to retain the

professional services of the law firm who is representing Plaintiff with respect to these causes of

action.

                                        VII.
                      CAUSES OF ACTION AGAINST DEFENDANT UPC

29.       Defendant UPC is liable to Plaintiff for intentional breach of contract, as well as intentional

violations of the Texas Insurance Code and intentional breach of the common law duty of good

faith and fair dealing.

          A.     Breach of Contract.

30.       The Policy is a valid, binding and enforceable contract between Plaintiff and Defendant

UPC. Defendant UPC breached the contract by refusing to perform its obligations under the terms

of the Policy and pursuant to Texas law. Defendant UPC’s breach proximately caused Plaintiff

injuries and damages. All conditions precedent required under the Policy have been performed,

excused, waived or otherwise satisfied by Plaintiff, or Defendant is estopped from raising the issue

due to Defendant’s prior breach of the insurance contract.

          B.     Noncompliance With Texas Insurance Code: Unfair Settlement Practices.

31.       The conduct, acts, and/or omissions by Defendant UPC constituted Unfair Settlement

Practices pursuant to TEX. INS. CODE.§541.060(a). All violations under this article are made

actionable by TEX.INS.CODE §541.151.

32.       Defendant UPC’s unfair settlement practice, as described above, of misrepresenting to

Plaintiff material facts relating to the coverage at issue, constitutes an unfair method of competition

and an unfair and deceptive act or practice in the business of insurance.                TEX.INS.CODE

§541.060(1).



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33.     Defendant UPC’s unfair settlement practice, as described above, of failing to attempt in

good faith to effectuate a prompt, fair, and equitable settlement of the claim, even though

Defendant UPC’s liability under the Policy was reasonably clear, constitutes an unfair method of

competition and an unfair and deceptive act or practice in the business of insurance. TEX.INS.CODE

§541.060(2)(A).

34.     Defendant UPC’s unfair settlement practice, as described above, of failing to promptly

provide Plaintiff with a reasonable explanation of the basis in the Policy, in relation to the facts or

applicable law, for its offer of a compromise settlement of the claim, constitutes an unfair method

of competition and an unfair and deceptive act or practice in the business of insurance.

TEX.INS.CODE §541.060(3).

35.     Defendant UPC’s unfair settlement practice, as described above, of failing within a

reasonable time to affirm or deny coverage of the claim to Plaintiff or to submit a reservation of

rights to Plaintiff, constitutes an unfair method of competition and an unfair and deceptive act or

practice in the business of insurance. TEX.INS.CODE §541.060(4).

36.     Defendant UPC’s unfair settlement practice, as described above, of refusing to pay

Plaintiff’s claim without conducting a reasonable investigation, constitutes an unfair method of

competition and an unfair and deceptive act or practice in the business of insurance. TEX.INS.CODE

§541.060(7).

37.     Defendant UPC’s conduct described above compelled Plaintiff to initiate a lawsuit to

recover amounts due under its policy by offering substantially less than the amount ultimately

recovered. Defendant UPC refused to even offer more than its own grossly undervalued estimates

despite actual damages which were much greater. This continued failure compelled Plaintiff to

file suit. TEX.INS.CODE §542.003(5).

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        C.     Prompt Payment Of Claims Violations.

38.     The Claim is a claim under an insurance policy with Defendant UPC of which Plaintiff

gave Defendant UPC. Defendant UPC is liable for the Claim. Defendant UPC violated the prompt

payment of claims provisions of TEX. INS. CODE § 542.051, et seq. by:

        a) Failing to acknowledge receipt of the Claim, commence investigation of the Claim,
           and/or request from Plaintiff all items, statements, and forms that Defendant UPC
           reasonably believed would be required within the time constraints provided by TEX.
           INS. CODE §542.055;

        b) Failing to notify Plaintiff in writing of its acceptance or rejection of the Claim within
           the applicable time constraints provided by TEX. INS. CODE §542.056; and/or by

        c) Delaying payment of the Claim following Defendant UPC’s receipt of all items,
           statements, and forms reasonably requested and required, longer than the amount of
           time provided by TEX. INS. CODE §542.058.

39.     Defendant UPC’s violations of these prompt payment of claims provisions of the Texas

Insurance Code are made actionable by TEX.INS.CODE §542.060.

        D.     Breach Of The Duty Of Good Faith And Fair Dealing.

40.     Defendant UPC breached the common law duty of good faith and fair dealing owed to

Plaintiff by denying or delaying payment on the Claim when Defendant UPC knew or should have

known that its liability to Plaintiff was reasonably clear. Defendant UPC’s conduct proximately

caused Plaintiff injuries and damages.

                                        VIII.
                             CAUSES OF ACTION AGAINST
                           DEFENDANTS UIM AND CASTORINA

41.     Defendants UIM and CASTORINA are insurance adjusters that were assigned or otherwise

engaged by UPC to adjust the claim. Defendant CASTORINA was an employee and/or agent of

Defendant UIM and was acting in furtherance of the business of Defendant UIM at all times




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material while adjusting the Claim.        Accordingly, Defendant UIM is liable for Defendant

CASTORINA’s wrongful conduct.

        A.     Noncompliance With Texas Insurance Code: Unfair Settlement Practices.

42.     The conduct, acts, and/or omissions by Defendants UIM and CASTORINA, while

adjusting the Claim constituted Unfair Settlement Practices pursuant to TEX. INS.

CODE.§541.060(a).      All violations under this article are made actionable by TEX.INS.CODE

§541.151.

43.     Defendants UIM and CASTORINA are individually liable for their unfair and deceptive

acts, irrespective of the fact they were acting on behalf of Defendant UPC, because individually,

they meet the definition of a “person” as defined by TEX.INS.CODE §541.002(2). The term

“person” is defined as “any individual, corporation, association, partnership, reciprocal or

interinsurance exchange, Lloyds plan, fraternal benefit society, or other legal entity engaged in the

business of insurance, including an agent, broker, adjuster or life and health insurance counselor.”

TEX.INS.CODE §541.002(2) (emphasis added). (See also Liberty Mutual Insurance Co. v. Garrison

Contractors, Inc., 966 S.W.2d 482, 484 (Tex.1998)(holding an insurance company employee to

be a “person” for the purpose of bringing a cause of action against them under the Texas Insurance

Code and subjecting them to individual liability).

44.     The unfair settlement practices of Defendants UIM and CASTORINA, as described above,

in misrepresenting to Plaintiff material facts relating to the coverage at issue, constitutes an unfair

method of competition and an unfair and deceptive act or practice in the business of insurance.

TEX.INS.CODE §541.060(1).

45.     The unfair settlement practices of Defendants UIM and CASTORINA, as described above,

in failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim,

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even though liability under the Policy is reasonably clear, constitutes an unfair method of

competition and an unfair and deceptive act or practice in the business of insurance. TEX.INS.CODE

§541.060(2)(A).

46.     The unfair settlement practices of Defendants UIM and CASTORINA, as described above,

in failing to promptly provide the Plaintiff with a reasonable explanation of the basis in the Policy,

in relation to the facts or applicable law, for the offer of a compromise settlement of Plaintiff’s

claim, constitutes an unfair method of competition and an unfair and deceptive act or practice in

the business of insurance. TEX.INS.CODE §541.060(3).

47.     The unfair settlement practices of Defendants UIM and CASTORINA, as described above,

in failing within a reasonable time to affirm or deny coverage of the claim to Plaintiff or to submit

a reservation of rights to Plaintiff, constitutes an unfair method of competition and an unfair and

deceptive act or practice in the business of insurance. TEX.INS.CODE §541.060(4).

48.     The unfair settlement practices of Defendants UIM and CASTORINA, as described above,

in refusing to pay Plaintiff’s claim without conducting a reasonable investigation, constitutes an

unfair method of competition and an unfair and deceptive act or practice in the business of

insurance. TEX.INS.CODE §541.060(7).

49.     The unfair settlement practices of Defendants UIM and CASTORINA, as described above,

compelled Plaintiff to initiate a lawsuit to recover amounts due under its policy by offering

substantially less than the amount ultimately recovered. Defendants UIM and CASTORINA

refused to even offer more than their own grossly undervalued estimates despite actual damages

which were much greater. This continued failure compelled Plaintiff to file suit. TEX.INS.CODE

§542.003(5).




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                                              IX.
                                           KNOWLEDGE

50.     Each of the Defendants’ acts described above, together and singularly, was done

“knowingly” as that term is used in the Texas Insurance Code and was a producing cause of

Plaintiff’s damages described herein.

                                                X.
                                             DAMAGES

51.     Plaintiff will show that all the aforementioned acts, taken together or singularly, constitute

the producing causes of the damages sustained by Plaintiff.

52.     For breach of contract, Plaintiff is entitled to regain the benefit of Plaintiff’s bargain, which

is the amount of Plaintiff’s claim, together with attorney fees.

53.     For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiff

is entitled to actual damages, which include the loss of the benefits that should have been paid

pursuant to the Policy, mental anguish, court costs and attorney’s fees. For knowing conduct of

the acts complained of, Plaintiff asks for three times Plaintiff’s actual damages. TEX.INS.CODE

§541.152.

54.     For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is

entitled to the amount of Plaintiff’s claim, as well as eighteen (18) percent interest per annum of

the amount of Plaintiff’s claim as damages, together with attorney’s fees. TEX.INS.CODE §542.060.

55.     For breach of the common law duty of good faith and fair dealing, Plaintiff is entitled to

compensatory damages, including all forms of loss resulting from the insurer’s breach of duty,

such as additional costs, economic hardship, losses due to nonpayment of the amount the insurer

owed, exemplary damages and damages for emotional distress.




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56.     For the prosecution and collection of this claim, Plaintiff has been compelled to engage the

services of the law firms whose names are subscribed to this pleading. Therefore, Plaintiff is

entitled to recover a sum for the reasonable and necessary services of Plaintiff’s attorneys in the

preparation and trial of this action, including any appeals to the Court of Appeals and/or the

Supreme Court of Texas.

                                              XI.
                                         JURY DEMAND

57.     Plaintiff hereby requests a jury trial and tenders the appropriate jury fee.

                                           XII.
                                 REQUEST FOR DISCLOSURE

58.     Pursuant to Texas Rule of Civil Procedure 194, Plaintiff requests that Defendants disclose

the information or material described in Rule 194.2.

                                                XIII.
                                              PRAYER

59.     WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon trial hereof,

Plaintiff has and recovers such sums as would reasonably and justly compensate Plaintiff in

accordance with the rules of law and procedure, both as to actual damages, statutory penalties and

interest, treble damages under the Texas Insurance Code and all punitive and exemplary damages

as may be found. In addition, Plaintiff requests the award of attorney’s fees for the trial and any

appeal of this case, for all costs of Court on their behalf expended, for pre-judgment and post-

judgment interest as allowed by law, and for any other and further relief, either at law or in equity,

to which Plaintiff may be justly entitled.




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                                            Respectﬁllly submitted,

                                            GREEN   & BARTON

                                             By:    /s/ William. T. Jones Jr.
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